

Trabert v New York State Off. of Mental Health (2025 NY Slip Op 02544)





Trabert v New York State Off. of Mental Health


2025 NY Slip Op 02544


Decided on April 25, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 25, 2025

PRESENT: LINDLEY, J.P., BANNISTER, OGDEN, DELCONTE, AND HANNAH, JJ. (Filed Apr. 25, 2025.)


MOTION NO. (921/24) CA 23-01890.

[*1]MELISA TRABERT, PLAINTIFF-RESPONDENT,
vNEW YORK STATE OFFICE OF MENTAL HEALTH AND HUTCHINGS PSYCHIATRIC CENTER, DEFENDANTS-APPELLANTS.



MEMORANDUM AND ORDER
Motion for leave to appeal to the Court of Appeals denied.








